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                IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                             HUNTINGTON DIVISION

BASIM ALI TALOUZI,

             Movant,

v.                                      Case No.: 3:12-cv-01687
                                        (Criminal Case No.: 3:11-cr-00074)


UNITED STATES OF AMERICA

             Respondent.


                    MEMORANDUM OPINION AND ORDER

      Pending before the Court is the United States’ Motion for an Order Directing

Movant to File a Privilege Waiver and an Order Directing Movant’s Former Counsel to

Provide Information to the United States Concerning Movant’s Claim of Ineffective

Assistance of Counsel and an Abeyance (Docket No. 206). For the reasons that follow,

the Court GRANTS the Motion as stated herein.

I.    OPINION

      In August 2011, Movant entered a guilty plea to one count of conspiracy to

transport, possess, purchase, and sell contraband cigarettes and one count of aiding and

abetting the distribution of a controlled substance. (ECF No. 135). He was sentenced to

36 months of imprisonment as to both counts to run concurrently, three years of

supervised release, a $5000 fine, and a $200 assessment. (Id.). Movant is currently

incarcerated at Federal Correctional Institution (FCI) Fort Dix located on the Fort

Dix/McGuire Air Base military installation in Burlington County, New Jersey. Movant

did not appeal his conviction or sentence, but filed a Motion to Vacate, Set Aside, or


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Correct Sentence pursuant to 28 U.S.C. § 2255, (Docket No. 194), and a supporting

memorandum (Docket No. 195). In the motion, Movant alleges that he received

ineffective assistance of counsel when trial lawyer, Mr. Tim C. Carrico (“Carrico”) failed

to file an appeal even though Movant requested that one be filed. (ECF No. 194 at 4-5).

Movant also filed an affidavit outlining at least one conversation he had with Carrico

regarding an appeal. (ECF No. 194-1). Consequently, the United States filed the instant

motion requesting the Court to direct Movant to file a waiver of the attorney-client

privilege that governed his communications with Carrico.

       When considering the United States’ motion, the Court takes into account the

professional and ethical responsibilities of Movant’s attorney, as well as the obligation of

the Court to ensure a fair, orderly, and efficient judicial proceeding. Without doubt,

Carrico has a basic duty under any jurisdiction’s standards of professional conduct to

protect Movant’s attorney-client privilege. Rule 83.7 of the Local Rules of this District

provides that:

       In all appearances, actions and proceedings within the jurisdiction of this
       court, attorneys shall conduct themselves in accordance with the Rules of
       Professional Conduct and the Standards of Professional Conduct
       promulgated and adopted by the Supreme Court of Appeals of West
       Virginia, and the Model Rules of Professional Conduct published by the
       American Bar Association.

Both the Rules of Professional Conduct promulgated by the Supreme Court of Appeals

of West Virginia and the American Bar Association’s (“ABA”) Model Rules of

Professional Conduct address the confidentiality of information shared between an

attorney and his or her client. See West Virginia Rules of Professional Conduct 1.6 and

1.9(b); Model Rules 1.6 and 1.9(c). These rules substantially limit the circumstances

under which an attorney may reveal privileged communications without an express and



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informed waiver of the privilege by the client.

       Moreover, on July 14, 2010, the ABA’s Committee on Ethics and Professional

Responsibility issued Formal Opinion 10-456, entitled “Disclosure of Information to

Prosecutor When Lawyer’s Former Client Brings Ineffective Assistance of Counsel

Claim.” Although this opinion is not binding on the court, see, e.g., Jones v. United

States, 2012 WL 484663 *2 (E.D.Mo. Feb. 14, 2102); Employer’s Reinsurance Corp. v.

Clarendon Nat. Ins. Co., 213 F.R.D. 422, 430 (D. Kan 2003), it provides a reasoned

discussion of the competing interests that arise in the context of an ineffective assistance

of counsel claim and their impact on the continued confidentiality of attorney-client

communications. In summary, the ABA acknowledges in the opinion that “an ineffective

assistance of counsel claim ordinarily waives the attorney-client privilege with regard to

some otherwise privileged information,” but cautions that this waiver does not operate

to fully release an attorney from his or her obligation to keep client information

confidential unless the client gives informed consent for disclosure or disclosure is

sanctioned by an exception contained in Model Rule 1.6. After examining the various

exceptions contained in Model Rule 1.6, the ABA concludes that disclosure may be

justified in certain circumstances; however, any such disclosure should be limited to

that which the attorney believes is reasonably necessary and should be confined to

“court-supervised” proceedings, rather than ex parte meetings with the non-client party.

       Upon examining the provisions of West Virginia’s Rule of Professional Conduct

1.6, the undersigned notes that 1.6(b)(2) permits a lawyer to “reveal such information

[relating to the representation of a client] to the extent the lawyer reasonably believes

necessary ...   to respond to allegations in any proceeding concerning the lawyer’s

representation of a client.” In the Comment that follows the Rule, the Supreme Court of


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Appeals instructs the lawyer to “make every effort practicable to avoid unnecessary

disclosure of information relating to a representation, to limit disclosure to those having

the need to know it, and to obtain protective orders or make other arrangements

minimizing the risk of disclosure.” Ultimately, however, a lawyer must comply with

orders of a court of competent jurisdiction, which require the lawyer to disclose

information about the client. Similarly, Model Rule 1.6(b)(5) authorizes an attorney to

reveal information regarding the representation of a client to the extent the lawyer

reasonably believes necessary “to respond to allegations in any proceeding concerning

the lawyer’s representation of the client.” Furthermore, Model Rule 1.6(b)(6) explicitly

states that the lawyer may disclose such information “to comply with other law or a

court order.” In view of these provisions, the Court finds that Carrico may, without

violating the applicable Rules of Professional Conduct, disclose information in this

proceeding regarding his communications with Movant to the extent reasonably

necessary to comply with an order of this Court or to respond to the allegations of

ineffective representation.

       Having addressed the professional responsibilities of Carrico, the Court turns to

its authority and obligations. As previously noted, federal courts have long held that

when a “habeas petitioner raises a claim of ineffective assistance of counsel, he waives

the attorney-client privilege as to all communications with his allegedly ineffective

lawyer.” Bittaker v. Woodford, 331 F.3d 715, 716 (9th Cir. 2003).1 Subsequent to the

opinion in Bittaker, Rule 502 of the Federal Rules of Evidence was enacted to explicitly


1 See also United States v. Pinson, 584 F.3d 972 (10thCir. 2009); In re Lott, 424 F.3d 446 (6th Cir.
2005); Johnson v. Alabama, 256 F.3d 1156 (11th Cir. 2001); Tasby v. United States, 504 F.2d 332 (8th
Cir. 1974); Dunlap v. United States, 2011 WL 2693915 (D.S.C.); Mitchell v. United States, 2011 WL
338800 (W.D. Wash).



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deal with the effect and extent of a waiver of the attorney-client privilege in a Federal

proceeding. Rule 502(a)2 provides in relevant part:

        When the disclosure is made in a Federal proceeding or to a Federal office
        or agency and waives the attorney-client privilege or work-product
        protection, the waiver extends to an undisclosed communication or
        information in a Federal or State proceeding only if: (1) the waiver is
        intentional; (2) the disclosed and undisclosed communications or
        information concern the same subject matter; and (3) they ought in
        fairness to be considered together.

Here, Movant intentionally waived the attorney-client privilege that attached to his

conversation(s) with Carrico regarding an appeal by setting out the substance of those

communications in his supporting affidavit. Accordingly, in regard to the particular

discussion(s) referenced by Movant, a subject matter waiver of the privilege attendant to

those particular conversations should be permitted in fairness to the United States.

        Nonetheless, the Court retains authority to issue a protective order governing

production of the privileged information, including the method by which the currently

undisclosed communications will be disclosed. See Rule 12, Rules Governing § 2255

Proceedings; FRCP 26(c); and FRE 503(d); See also United States v. Nicholson, 611

F.3d 191, 217 (4th Cir. 2010). Rule 7 of the Rules Governing Section 2255 Proceedings

expressly authorizes the use of affidavits as part of the record. In order to determine

whether an evidentiary hearing is necessary, an affidavit submitted by Carrico would be

useful to the Court. Moreover, an affidavit and any supporting documents should supply

the basic information required by the United States to allow it to respond to Movant’s §


2 The Federal Rules of Evidence are applicable in a § 2255 proceeding “to the extent that matters of

evidence are not provided for in the statutes which govern procedure therein or in other rules prescribed
by the Supreme Court pursuant to statutory authority.” FRE 1101(e). See also U.S. v. Torrez-Flores, 624
F.2d 776 (7th Cir 1980); United States v. McIntire, 2010 WL 374177 (S.D. Ohio); Bowe v. United States,
2009 WL 2899107 (S.D. Ga.); Rankins v. Page, 2000 WL 535960 (7th Cir.); Ramirez v. United States,
1997 WL 538817 (S.D.N.Y). The statutes and rules governing § 2255 actions do not address the assertion
or waiver of the attorney-client privilege.


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2255 motion while simultaneously ensuring a reasonable limitation on the breadth of

the waiver of the attorney-client privilege.

II.    ORDER

       Therefore, for the forgoing reasons, the Court ORDERS Movant’s trial counsel,

Mr. Tim C. Carrico, to file within thirty (30) days from the date of this Order an affidavit

responding only to Movant’s specific claim of ineffective assistance of counsel. The

affidavit shall include all of the information Carrico believes is necessary to fully

respond to the claim and shall include as attachments copies of any documents from his

file specifically addressing the subject of Movant’s appeal. To the extent that these

documents address other aspects of Carrico’s representation of Movant, Carrico may

redact them. In preparing the affidavit and attachments, counsel should disclose only

that information reasonably necessary to ensure the fairness of these proceedings.

       In addition, the undersigned finds that specific court-imposed limitations on the

use of the privileged information are necessary to protect Movant’s future interests. As

noted by the Fourth Circuit in United States v. Nicholson, supra at 217, citing Bittaker

v. Woodford, supra at 722-723 (9th Cir. 2003), a protective order prohibiting the

subsequent and unfettered use of privileged information disclosed in a § 2255

proceeding is entirely justified, because otherwise the movant would be forced to make a

painful choice between “asserting his ineffective assistance claim and risking a trial

where the prosecution can use against him every statement he made to his first lawyer”

or “retaining the privilege but giving up his ineffective assistance claim.” Accordingly,

the Court further ORDERS that the attorney-client privilege, which attaches to the

communications between Movant and Carrico, shall not be deemed automatically

waived in any other Federal or State proceeding by virtue of the above-ordered


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disclosure in this § 2255 proceeding. The affidavit and documents supplied by Carrico

shall be limited to use in this proceeding, and Respondent is prohibited from otherwise

using the privileged information disclosed by Carrico without further order of a court of

competent jurisdiction or a written waiver by Movant.

      The Court GRANTS the United States’ motion for an abeyance. Upon receipt of

the affidavit and supporting documentation, if any, the undersigned will review the

matter to determine whether an evidentiary hearing is necessary. Upon completion of

the review, the undersigned will issue an appropriate scheduling order.

      The Clerk is instructed to provide a copy of this Order to Movant, counsel of

record, and Mr. Tim C. Carrico.

                                  ENTERED: August 30, 2012.




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